Case: 3:20-cv-00113-GHD-RP Doc #: 40 Filed: 05/25/21 1 of 1 PagelD #: 209

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF MISSISSIPPI
ABERDEEN DIVISION

LORETHA COTTON-THOMAS, Individually

and on Behalf of Other Similarly Situated Individuals PLAINTIFF
VS, CAUSE NO, 3:20-CV-113-GHD-RP
VOLVO GROUP NORTH AMERICA, LLC DEFENDANT

 

ORDER DENYING PLAINTIFF?S MOTION FOR CLASS CERTIFICATION

 

Pursuant to an opinion issued this day, it is hereby ORDERED that:

(1) the Plaintiffs motion seeking to have the Court certify this case as a
collective action under the Fair Labor Standards Act [Doc. No. 27] is
DENIED;

(2) the putative class members’ claims shall be DISMISSED WITHOUT
PREJUDICE; and

(3) the individual claims of the named Plaintiff, Loretha Cotton-Thomas, shall
PROCEED.

All memoranda, depositions, declarations, and other materials considered by the
Court in ruling on this motion are hereby incorporated into and made a part of the record

in this action. oe

o -
SO ORDERED, this the J day of May, 2021.

~
LE KM Mex hen

SENIOR U.S. DISTRICT JUDGE

 
